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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,

         Plaintiff,
                                                                      Case No. 1:25-cv-11472-ADB
                        v.

 DEPARTMENT OF HOMELAND SECURITY,
 et al.,

         Defendants.



                  MOTION FOR A TEMPORARY RESTRAINING ORDER

       This suit challenges the government’s continuing unlawful and retaliatory actions to bar

Harvard University from hosting international students and scholars.

       On May 22, 2025, the Department of Homeland Security sent Harvard University a letter

revoking its authority to host nonimmigrant F and J visa holders (the “Revocation Notice”). The

next day, Plaintiff President and Fellows of Harvard College (“Harvard”) filed this lawsuit

challenging the Revocation Notice on constitutional and statutory grounds. The same day, the

Court entered a temporary restraining order (TRO) and, on May 29, the Court held a hearing to

convert that order into a preliminary injunction. At that hearing, the Court ruled orally that it would

grant the motion for a preliminary injunction. The parties have since been negotiating the terms of

a preliminary injunction, as directed by the Court.

       Yet on June 4, 2025, President Trump issued a Proclamation titled “Enhancing National

Security by Addressing Risks at Harvard University” that immediately suspends entry of foreign

nationals who “enter or attempt to enter the United States to begin attending Harvard University,”

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directs the Secretary of State to consider whether to revoke the F, M, and J visas of current Harvard

students and scholars, and directs the Secretary of State, the Attorney General, and the Secretary

of Homeland Security to consider limiting Harvard’s ability to participate in the Student and

Exchange Visitor Program (SEVP) and the Student and Exchange Visitor Information System

(SEVIS).1 The Proclamation makes plain that it directs these actions and suspends entry of these

students and scholars not because of any risk they pose—it expressly states that these students

could be admitted for the purpose of attending any other school in the country—but solely to force

Harvard to yield to the Administration’s unlawful demands..

       Just like the Revocation Notice that came before it, the Proclamation is retaliation,

discriminates based on viewpoint, and otherwise violates the First Amendment. It also is unlawful

under the statutory authorities on which it relies, violates the Equal Protection Clause, and is an

end run around this Court’s TRO. If not enjoined, the Proclamation will result in immediate,

irreversible, and ongoing harm to Plaintiff and its students. Effective immediately, the thousands

of international students scheduled to come to campus for summer and fall terms are barred from

entering the United States, and approximately a quarter of Harvard’s current student body is at

imminent risk of having their visas revoked and becoming subject to deportation. Countless

academic programs, research laboratories, clinics, and courses supported by Harvard’s F-1 and J-

1 visa students have been thrown into disarray. The loss of Harvard’s international students and

scholars, present and future, and their trust and faith in Harvard’s ability to host visa holders, will

have an irreversible impact on the University’s reputation and status as a preeminent institution of



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  President of the United States, Proclamation: Enhancing National Security by Addressing Risks
at Harvard University” (“Proclamation”) (Am. Compl. Ex. 29).
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learning. Immediate relief is necessary.

       Harvard thus has filed an Amended Complaint that restates the claims in the original

Complaint and adds new claims challenging the Proclamation. Harvard now respectfully moves

the Court, pursuant to Rule 65(b) of the Federal Rules of Civil Procedure, to enter a temporary

restraining order against Defendants Department of Homeland Security, Kristi Noem,

Immigrations and Customs Enforcement, Todd Lyons, Department of Justice, Pamela Bondi,

SEVP, Jim Hicks, Department of State, and Marco Rubio (collectively, “Defendants”), enjoining

Defendants, their agents, and anyone acting in concert or participation with Defendants from

implementing, instituting, maintaining, enforcing, or giving force or effect to the June 4, 2025

Presidential Proclamation titled, “Enhancing National Security by Addressing Risks at Harvard

University.”

       Harvard also moves pursuant to Rule 65(b)(2) of the Federal Rules of Civil Procedure to

extend the Court’s May 23, 2025 TRO until June 20, 2025, or such earlier time as a preliminary

injunction order can be issued. Good cause exists for such extension in light of the disruption the

Proclamation has caused to the parties’ efforts to convert that TRO to a preliminary injunction,

because the many legal infirmities with respect to the Revocation Notice remain the same, and

because Harvard will suffer irreparable harm absent preservation of the status quo ante.

       As set forth in the accompanying memorandum, Harvard has established a strong

likelihood of success on the merits of its claims; that it will suffer irreparable harm absent relief;

and that the balance of equities and the public interest weigh strongly in favor of a temporary

restraining order.




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Dated: June 5, 2025                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       Counsel for Plaintiff certify that they have submitted the foregoing document with the clerk

of court for the District of Massachusetts, using the electronic case filing system of the Court.

Counsel for Plaintiff hereby certify that they have served all parties electronically or by another

manner authorized by Fed. R. Civ. P. 5(b)(2).




 Dated: June 5, 2025                                /s/ Steven P. Lehotsky
                                                    Steven P. Lehotsky




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                             CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7.1(a) and Federal Rule of Civil Procedure 65, counsel for Plaintiff

certify that they have contacted the following individuals at the U.S. Department of Justice by

electronic mail to provide notice of this motion:

       Tiberius Davis
       U.S. Department of Justice, Civil Division
       tiberius.davis@usdoj.gov

       Rayford Farquhar
       Chief, Defensive Litigation, Civil Division
       U.S. Attorney’s Office for the District of Massachusetts
       rayford.farquhar@usdoj.gov

       As of the time of filing, Defendants have not taken a position on the motion.



 Dated: June 5, 2025                                    /s/ Steven P. Lehotsky
                                                        Steven P. Lehotsky




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